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February 28, 2020
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VIA ECF


Honorable Vernon S. Broderick
                                                                             3/2/2020
United States District Court
Southern District of New York                                 Mr. Collins is directed to surrender at his designated facility
Thurgood Marshall United States Courthouse                    before 2:00 p.m. on April 21, 2020.
40 Foley Square
New York, New York 10007

Re:        United States v. Christopher Collins, et al., No. 18-cr-567 (VSB) (S.D.N.Y.)

Dear Judge Broderick:

        We are counsel for Defendant Christopher Collins in this matter and write regarding the
date on which Mr. Collins must surrender at the institution designated by the Bureau of Prisons
(“BOP”) for service of his sentence (the “Report Date”). Specifically, we respectfully request
that Mr. Collins’ Report Date be extended and re-set to 2:00 pm on April 21, 2020 for the
reasons set forth below. We have conferred with counsel for the Government, which does not
object to the relief requested herein.

        By way of background, on January 17, 2020, Mr. Collins appeared before Your Honor
for sentencing pursuant to his plea of guilty to one count of conspiracy to commit securities fraud
and one count of making a false statement. At sentencingm Your Honor, in relevant part,
sentenced Mr. Collins to concurrent sentences of 26 months imprisonment. On January 31, 2020,
a Judgment in a Criminal Case issued as to Mr. Collins, ECF No. 171, formalizing this sentence
and recommending that BOP designate FPC Pensacola if possible.

        Our understanding, through a search of BOP’s inmate locator is that Mr. Collins has not
yet been processed into the BOP system.1 We further understand based on a call with the United
States Marshal’s Service that it appears that the paperwork required for BOP to start the
designation process may not have been transmitted to BOP prior to today. We understand that
the typical period for designation to occur is approximately 30-45 days after the defendant is

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    https://www.bop.gov/inmateloc/
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entered into BOP’s system.2 As of today, we understand that the Marshal’s Service and the
United States Probation Office are communicating with BOP to ensure all necessary paperwork
is provided to facilitate the designation process. However, with only eighteen days until Mr.
Collins’ original Report Date, it appears that there is a significant risk that designation will not
occur in time.

        At sentencing the Court allowed for self-surrender to a designated facility. Self-surrender
to a designated facility has several benefits, including saving BOP the cost of transporting an
inmate and saving the Marshal’s Service from involvement in detaining an inmate and arranging
for temporary custody. We anticipate that an additional five weeks will allow sufficient time for
BOP to complete its designation process as to Mr. Collins. See, e.g., In the Matter of
Standardizing Dates for the Completion of Documentation for Defendants Sentenced to
Imprisonment, Standing Order No. 14 Misc. 140 (S.D.N.Y. May 8, 2014) (“When a defendant is
permitted to surrender voluntarily, judges should fix a surrender date that is forty-five days after
sentencing, unless individual circumstances warrant a variance. . . .) (emphasis added);
Bussert, supra, at 1039 (“To the extent that designation is slow in coming . . . the sentencing
court alone has the power to authorize an extension of time within which to surrender; the BOP
has no legal authority to modify surrender dates.”).

        Wherefore, we respectfully submit that good cause exists to extend the Report Date and
respectfully request that the Court issue an order extending the report date of Mr. Collins to 2:00
pm on April 21, 2020.

Respectfully submitted,

/s/ Jonathan B. New
Jonathan B. New
Jonathan R. Barr
Kendall E. Wangsgard
BakerHostetler LLP
212.589.4650

Counsel for Christopher Collins

cc: All Parties (via ECF)




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  See Todd Bussert, “The BOP: Bureau of Prisons Issues” (Oct. 25, 2012) at 1039 (“Counsel with clients permitted
to self-surrender should note that recent data shows designation takes approximately four-to-six weeks, on average,
from the date of sentencing.”).
